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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

 ANDREA MOREHEAD ALLEN,
                                                    Case No. 1:21-cv-00086-JMS-MJD
                    Plaintiff,
        v.                                          Judge Jane Magnus-Stinson

 TEGNA, INC. VIDEOINDIANA, INC.                     Magistrate Judge Mark J. Dinsmore
 WTHR CHANNEL 13,

                    Defendant.

      MOTION TO DISMISS PLAINTIFF’S SECOND AMENDED COMPLAINT

        Pursuant to Federal Rule of Civil Procedure 12(b)(6), Defendants VideoIndiana, Inc.

 d/b/a WHTR Channel 13 and TEGNA Inc. (“Defendants”), move to dismiss with prejudice

 Paragraphs 101, 103, 107, 108, 110, and 111 of the Second Amended Complaint. In support of

 its Motion and as explained in more detail in Defendant’s Memorandum of Law in Support of

 this Motion, Defendant states as follows:

        1.      Plaintiff filed her Second Amended Complaint (“SAC”) on November 11, 2021.

 ECF No. 53 (“SAC”).

        2.      The SAC includes new claims of Title VII claims of race discrimination related to

 pay and termination of employment; Section 1981 claims of race discrimination related to pay

 and termination of employment; Title VII claims of gender discrimination related to termination

 of employment and harassment; Title VII claims of sex discrimination related to pay; Equal Pay

 Act claims related to pay; ADA claims related to harassment; and breach of contract. (ECF No.

 53, ¶¶ 100-114.)

        3.      Plaintiff’s new Title VII and ADA claims related to pay and harassment (SAC

 ¶¶ 103, 107, 110, 111) are untimely. These claims were included in Plaintiff’s EEOC charge
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 filed on May 27, 2020, for which she received a Notice of Right to Sue from the EEOC on

 October 15, 2020. Plaintiff was required to file suit on these claims within 90 days from the date

 of receipt of the notice of the right to sue. 42 U.S.C. § 2000e–5(f)(1); 42 U.S.C. § 12117(a);

 Houston v. Sidley & Austin, 185 F.3d 837, 838–39 (7th Cir. 1999). However, she did not assert

 these new claims until November 11, 2021 (ECF No. 53), many months after the 90-day period

 expired. Dismissal under Rule 12(b)(6) is “appropriate when the complaint alleges facts

 sufficient to establish that the suit is indeed tardy.” McCleery v. Avalanche Food Grp., No. 1:17-

 CV-1365-WTL-DML, 2017 WL 6550619, at *1 (S.D. Ind. Dec. 4, 2017) (citing Amin Ijbara

 Equity Corp. v. Vill. of Oak Lawn, 860 F.3d 489, 492 (7th Cir. 2017)).

        4.      Plaintiff’s new Equal Pay Act claim (SAC ¶ 108) fails to state a claim upon which

 relief can be granted. An Equal Pay Act claim requires her to show: “(1) that different wages are

 paid to employees of the opposite sex; (2) that the employees do equal work which requires

 equal skill, effort and responsibility; and (3) that the employees have similar working

 conditions.” Bragg v. Navistar Intern. Transp. Corp., 164 F.3d 373, 378 (7th Cir. 1998). The

 SAC does not contain any information about the actual job duties or the level of skill, effort, or

 responsibility required to perform Plaintiff’s job. Nor does the SAC identify any alleged male

 comparator, provide any information regarding the work of any alleged male comparator, or

 provide any information regarding Plaintiffs’ own compensation or the compensation of any

 alleged male comparator. Plaintiff offers only conclusions without providing the required factual

 basis to support the new claims. See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009); Bell Atlantic

 Corp. v. Twombly, 550 U.S. 544, 555 (2007). Accordingly, the claim should be dismissed. See

 Wade v. Morton Bldgs., Inc., No. 09-1225, 2010 WL 378508, at *6 (C.D. Ill. Jan. 27, 2010)




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 (granting employer’s motion to dismiss Equal Pay Act claims where allegations do not identify

 the comparable male employee or his position.).

                                          CONCLUSION

        5.      For these reasons, and as explained above and more fully in Defendant’s

 Memorandum of Law in Support of its Motion to Dismiss, Paragraphs 101, 103, 107, 108, 110,

 and 111 of the Second Amended Complaint should be dismissed with prejudice pursuant to Rule

 12(b)(6) because Plaintiff has failed to state a claim upon which relief can be granted.

 DATED: November 26, 2021                             Respectfully submitted,

                                                      SEYFARTH SHAW LLP


                                                      By: /s/ Camille Olson
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on November 26, 2021, a true and correct copy of this document was

 filed sent via email to the following individual:

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